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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 15-cv-00349-REB-SKC

   PHILLIS WINDY HOPE REILLY and
   MICHAEL P. REILLY,

          Plaintiffs,

   v.

   6480 PICKNEY, LLC,
   PARKER WALTON, and
   CAMP FEEL GOOD, LLC,

          Defendants.


                                         FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          THIS MATTER was tried from October 29 to October 31, 2018, before an

   empaneled jury of nine, Senior United States District Judge Robert E. Blackburn

   presiding. The case was submitted to the jury on October 31, 2018, on plaintiffs’ claims

   under the Racketeer Influenced and Corrupt Organizations Act.

          The jury rendered unanimous verdicts.

          Pursuant to and in accordance with the jury’s verdicts for the defendants, it is

   therefore

          ORDERED that judgment is entered in favor of defendants, 6480 Pickney, LLC,

   Parker Walton, and Camp Feel Good, LLC, and against plaintiffs, Phillis Windy Hope

   Reilly and Michael P. Reilly. It is
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          FURTHER ORDERED that plaintiffs’ claims and this case are dismissed with

   prejudice. It is

          FURTHER ORDERED that costs shall be taxed by the clerk of the court in the

   time and manner prescribed by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

          DATED at Denver, Colorado, this 8th day of November, 2018.



   APPROVED:                                                 FOR THE COURT:
                                                             Jeffrey P. Colwell, Clerk



   ______________________                                    By:   s/L.Roberson
   United States District Judge                              L. Roberson, Deputy Clerk
